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Donna Rojas Reg# 74725-509
Alderson Federal Prison Camp

P.O. Box A
Alderson, WV 24910

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The Honorable Judge Godbey Wood mas
United States District Court
Southern district of Georgia
601 Tabeau Street

Waycross, Georgia ~31501
Case No: 5:21CR 00009-14 \) -

April 8, 2025

Dear Judge Wood,

I am writing to humbley request that you kindly consider
a sentence reduction on my behalf because I just learned that I
was never offered the Safety Valve consideration by my former
legal counsel. I believe that I qualified for the Safety valve
in that I had no previous criminal history, my crime of conspiracy
was non-violent and did not involve any weapons and I was fully
cooperative with the federal officers. I truly hope that you
will strongly consider me to receive this reduction and if I
need a formal legal motion, please assign me a public defender
to submit the proper paperwork to you in the appropriate form
and as soon as possible. I am an abused divorcee mom of three
minor children, who are really struggling since my recent incar-
ceration.

I am trying each and everyday toomake better decisions and

to learn how to be my best self. I am studying to take my GED, a
and I appreciate the opportunity to learn among other women who
have obtained their education and who inspire me. I am using my
own studies to help me to inspire my young children, where I was

an integral part of their homecand school life. One of my children

is severely austistic and non-verbal. So it has been exceedingly
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difficult for my austistic son who has regressed so much with
my absence and has struggled to even use the machine that helps
him communicate with others. I miss my children very very much;
and my heart is broken that I am not there to care for them and
comfort them.iiiac +

I have fully accepted responsibility for my associations
and the conspiracy of these immigration crimes. As an American
citizen, my interest in helping others has to be done with a
humble heart but with a discerning conscience and always within
the rule of law. Although I am faithfully programming, one of
the attached charges is not allowing me earn and apply the First
Step»Act credits, which limits my ability to earn my pre-release
back to my children and back to being an active mom, which I so
desire. If there is any way to address this First Step Act charge
restriction, I would be so very grateful to God and to you and
the Honorable Court.

With a recent Memo from the BOP Reentry Services just circu-::
lated last weekend, ¢ven my Second Chance Act Credits maybe
limited to only giving me 2 months in my pre-release time which
would keep me from my kids even longer. I hope and pray that this
memo does not persist and that God will provide a way for me and
all mothers of minor children, to return back home to care for
them, so my innocent children will not have to suffer without a
loving and actively engaged parent. Thanks so very much for
giving me a Second look and a Second Chance to better myself but
also to get home to my young kids as soon as possible. I really

need your help and the Court's fair and objective review.

With Great Appreciation, I humbly remain,

Ms. Donna Rojas
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